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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

  MAURICE JONES, ANTHONY C. COOK and
  MICAH BELLAMY, et al.,

                            Plaintiffs,                  Case No.: 6:17-cv-00891-PGB-KRS

        v.

  GOVERNMENT EMPLOYEES INSURANCE
  COMPANY, and GEICO GENERAL INSURANCE
  COMPANY,

                          Defendants.

  ANTHONY LORENTI and ASHLEY BARRETT,
  individually and on behalf of all others similarly
  situated,                                              Case No.: 6:17-cv-01755-PGB-KRS

                          Plaintiffs,

        v.

  GEICO INDEMNITY COMPANY,

                          Defendant.


                    JOINT RESPONSE TO ORDER TO SHOW CAUSE
        Defendants Government Employees Insurance Company, GEICO General Insurance

 Company and GEICO Indemnity Company (“GEICO”) and Plaintiffs Maurice Jones, Anthony C.

 Cook, Micah Bellamy, Anthony Lorenti and Ashley Barrett (“Plaintiffs”) (collectively, the

 “Parties”) herby jointly respond to the Court’s February 3, 2020, Order to Show Cause.

        1.     On December 18, 2019, Plaintiffs filed an Unopposed Motion for Preliminary

 Approval of a Proposed Class Action Settlement in the above captioned action. Dkt. No. 197.

 Attached as Exhibit 1 to the Motion for Preliminary Approval was a copy of the Class Action




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 Settlement Agreement (the “Settlement Agreement”) entered into between the Parties in the above

 captioned action. Settlement Agreement, Dkt. No. 197-1.

        2.        The Settlement Agreement stipulated that KCC Class Action Services, LLC

 (“KCC”) would be the Settlement Administrator. Id. at 15. Pursuant to the terms of the Settlement

 Agreement and the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715(b), within 10 days of

 the Settlement Agreement being filed with the Court, KCC, on behalf of GEICO, was to provide

 CAFA notice by serving on the individuals identified in ¶ 30 of the Settlement Agreement the

 documents described in 28 U.S.C. § 1715(b)(1) – (8). Id. at 22.

        3.        On December 27, 2019, KCC complied with the terms of the Settlement Agreement

  and CAFA by mailing sixty notice packets (the “CAFA Notice Packets”) to the U.S. Attorney

  General, the Federal Insurance Chief Commissioner for the Federal Insurance Office, the

  Insurance Commissioners for each of the 50 States, the District of Columbia, and the 5 recognized

  U.S. Territories. Affidavit re Mailing of CAFA Notice (“KCC Affidavit”) at ¶ 5, attached hereto

  as Exhibit A.

        4.        The CAFA Notice Packets included a cover letter that set forth certain information

  concerning the notice, including a description of the class. Cover Letter, attached as Exhibit 1 to

  KCC Affidavit. More specifically, the letter stated that it is “believed and anticipated that the

  majority of Class Members reside in Florida” and that the settlement class is limited to Florida

  policyholders. Id. at 3.

        5.        In addition, although not required under the statute, a telephone number and e-mail

  address through which KCC could be contacted regarding any questions related to the CAFA

  Notice Packets and/or the proposed settlement were provided. KCC Affidavit at ¶ 7. The CAFA




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  Notice Packets also included numerous case related documents, which contain the contact

  information for counsel for the Parties. KCC Affidavit at ¶ 4.

            6.    On February 3, 2020, the Court issued an Order to Show Cause in response to a

  January 24, 2020, letter from the Louisiana Department of Insurance (the “Department”) raising

  issues the Department encountered in attempting to reach KCC in response to the CAFA Notice

  Packets. Order to Show Cause, Dkt. No. 204.

            7.    The Parties have reviewed the Court’s Order to Show Cause and the Department’s

  letter.    The Parties have no reason to dispute the veracity of the statements made in the

  Department’s letter.

            8.    Upon receipt of the Order to Show Cause, the Parties had numerous

  communications with KCC.

            9.    KCC and the Parties are extremely disappointed that the Department encountered

  issues contacting KCC to gather further information concerning the settlement.

            10.   The direct phone number and e-mail address set forth in the cover letter to the

  CAFA Notice Packets and described in the Department’s letter belong to Jeanne M. Chernila,

  Project Manager at KCC. KCC Affidavit at ¶ 7.

            11.   KCC is a subsidiary of Computershare. Id. at ¶ 3.

            12.   Since May 2013, Ms. Chernila has been the primary individual at KCC tasked with

  CAFA notice mailings, and she has handled more than 500 CAFA mailings. Id. at ¶ 2.

            13.   Ms. Chernila was unexpectedly out of the office on January 13, 2020 and January

  20, 2020, due to a medical issue. Id. at ¶ 9. While she did not receive any voicemails or e-mails

  related to this CAFA mailing during this time, she did not forward her phone. Id.




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        14.      While KCC has tested and confirmed that the direct telephone number (and

  voicemail for same) and e-mail provided in the cover letter for Ms. Chernila that accompanied

  the CAFA Notice Packets have been continuously operational since the CAFA Notice Packets

  were mailed, to limit any confusion or difficulties in the future, KCC has additionally instituted a

  number of process changes. These process changes are outlined in KCC’s attached affidavit, and

  include, but are not limited to:

              a. KCC changed the voicemail message associated with the telephone number

                 provided in the notice to clearly identify that the callers have reached the proper

                 contact point for inquiries related to CAFA notices; and

              b. KCC provided further guidance to KCC/Computershare call center employees

                 concerning CAFA notices and to who KCC inquiries concerning CAFA notices

                 should be directed in the event calls are placed to the main KCC number, and not

                 to the specific number provided in the CAFA Notice Packets.

 KCC Affidavit at ¶ 10.

        15.      The Parties will work diligently with KCC to ensure that any inquiries relating to

 the CAFA Notice Packets are promptly responded to.

        16.      Out of an abundance of caution, the Parties will also be mailing to each recipient

 of the CAFA Notice Packets a letter providing the contact information for counsel for GEICO to

 allow recipients of the notice an alternative point of contact should they have any questions

 concerning the settlement.

        17.      The Parties respectfully submit that Notice should not be stricken and that the issues

 raised by the Department do not support disapproval of the Settlement. The parties further

 respectfully submit that given the steps taken by KCC and the additional mailing that the Parties



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 will be undertaking, the Parties believe that neither the Final Fairness Hearing scheduled for June

 17, 2020, nor any other interim deadline is impacted in any way.

 Dated: February 18, 2020.
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of February, 2020, I electronically filed the foregoing

 document with the Clerk of the Court using the CM/ECF system, which will send notification of

 such filing to all counsel of record.

                                                      /s/ Kymberly Kochis




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